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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
Abinacer,

                          Plaintiff,                                20 Civ. 10153 (VB)(AEK)

        -against-                                                   ORDER

Saul,

                          Defendant.
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THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.

        On December 4, 2020, the Court filed its Standing Order, In Re: Motions for Judgment

on the Pleadings in Social Security Cases, pursuant to which Defendant is to file the certified

transcript of administrative proceedings within 90 days of being served with the complaint. ECF

No. 8. Because no proof of service has been filed by Plaintiff, the Court does not know when the

90-day period for filing the certified transcript expires. Accordingly, Plaintiff is directed to file

proof of service forthwith, and to notify the Court if the 90-day period has expired without

Defendant’s filing of the certified transcript.

Dated: February 22, 2021
       White Plains, New York

                                                              SO ORDERED.


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                                                              ANDREW E. KRAUSE
                                                              United States Magistrate Judge
